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                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



Elizabeth Cram and John Cram

     v.                                Civil No. 18-cv-394-LM
                                       Opinion No. 2019 DNH 142
Burger King Corporation, et al.



                               O R D E R

     Elizabeth Cram tripped and fell while at a Burger King

restaurant in Claremont, New Hampshire.        She and her husband

John Cram sued defendants, Burger King Corporation (“Burger

King”), the lessor of the Burger King restaurant where Elizabeth

was injured, Northeast Foods, LLC d/b/a Northeast Fast Foods

(“Northeast Foods”), the lessee of the restaurant, and Shoukat

Dhanani, the managing member of Northeast Foods, alleging claims

sounding in negligence and seeking damages arising out of

Elizabeth’s fall.1    Burger King and Dhanani move for summary

judgment on all plaintiffs’ claims against them.2           Doc. no. 19.

Plaintiffs object.    Plaintiffs also move for an order compelling

Dhanani to appear for a deposition in New Hampshire or



     1 Plaintiffs also sued Houston Foods, Inc., but later
voluntarily dismissed that defendant pursuant to Federal Rule of
Civil Procedure 41(a)(1). Doc. no. 10.

     2 Northeast Foods does not join in Burger King and Dhanani’s
motion. For ease of reference, the court refers to Burger King
and Dhanani collectively as “defendants.”
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Massachusetts.    Doc. no. 30.     For the following reasons, the

court grants defendants’ motion for summary judgment and denies

plaintiffs’ motion to compel without prejudice.3



                             STANDARD OF REVIEW

     A movant is entitled to summary judgment if it “shows that

there is no genuine dispute as to any material fact and [that

it] is entitled to judgment as a matter of law.”              Fed. R. Civ.

P. 56(a).     In reviewing the record, the court construes all

facts and reasonable inferences in the light most favorable to

the nonmovant.    Kelley v. Corr. Med. Servs., Inc., 707 F.3d 108,

115 (1st Cir. 2013).


                                BACKGROUND

     The following facts are drawn from the summary judgment

record and are construed in the light most favorable to

plaintiffs.    In January 2018, plaintiffs ate at the Burger King

restaurant in Claremont, New Hampshire.          After eating, Elizabeth

intended to use the women’s restroom.         As Elizabeth opened the

door to the restroom, her right foot got caught in the rungs of

a child’s highchair that had been improperly placed next to the



     3 Defendants requested a hearing on their summary judgment
motion. Upon review of the relevant pleadings, the court is not
convinced that oral argument would “provide assistance to the
court.” LR 7.1(d).

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entrance door to the restroom.      When Elizabeth’s foot got

caught, she took an overextended step with her left leg to

prevent herself from falling on the floor.         As she stepped with

her left leg, she felt pain in that leg and fell against the

bathroom wall.

     Immobilized, Elizabeth waited until her husband, John, came

looking for her in the women’s restroom.        After being helped up

by John, Elizabeth completed an incident report with the onsite

restaurant manager.    Shortly thereafter, Elizabeth sought

medical care at Valley Regional Hospital in Claremont.              She was

diagnosed with a “nearly full tear” of her left Achilles tendon.

Doc. no. 21-1 at 3.

     The Burger King restaurant where Elizabeth’s injury

occurred is located at 324 Washington Street in Claremont, New

Hampshire (“the subject restaurant”).       At all times relevant to

this suit, Burger King owned the subject restaurant and the land

upon which it sits.    Burger King is a corporation engaged in the

business of operating and granting franchises of Burger King

restaurants.

     At all times relevant to this suit, Burger King leased the

subject restaurant to Northeast Foods, which operated the

subject restaurant as Burger King’s franchisee.             Northeast Foods

is a limited liability company formed for the purpose of

operating franchised Burger King restaurants.          It is the

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franchisee of numerous Burger King restaurants throughout New

England.    Dhanani is the managing member of Northeast Foods.

     Northeast Foods’s relationship with Burger King is governed

by the lease and the Franchise Agreement, both of which Dhanani

signed on Northeast Foods’s behalf.        Doc. nos. 19-9, 19-10.4

Under the lease, Northeast Foods agreed to be responsible for

maintaining the subject restaurant “in good order and condition”

and making all necessary repairs and using all reasonable

precaution “to prevent waste, damage or injury.”            Doc. no. 19-10

at 15.     The lease also states that Burger King is not liable

“for any . . . injury occurring on the Premises” and that

Northeast Foods would indemnify Burger King from liabilities and

lawsuits arising out of the condition, maintenance, or repair of

the premises, and any injury occurring on the premises.             Id. at

14, 23.

     The Franchise Agreement provides Northeast Foods the right

to operate the subject restaurant in exchange for the payment of

royalties to Burger King.     The Franchise Agreement makes clear

that Northeast Foods as franchisee is “an independent contractor


     4 The parties separately move to seal the copies of the
lease and the Franchise Agreement submitted with their summary
judgment pleadings. As more fully explained in the order on the
motions to seal, issued this same day, the court denies that
request to the extent portions of the lease and the Franchise
Agreement are quoted and referred to in public documents—in the
parties’ pleadings and in this order. The motion to seal is
otherwise granted.

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and is not an agent, partner, joint venture, joint employer, or

employee of [Burger King], and no fiduciary relationship between

the parties exists.”    Doc. no. 19-9 at 9.       As such, Northeast

Foods is responsible for hiring and training its own employees,

purchasing insurance, and maintaining and repairing the subject

restaurant.   In the Franchise Agreement, Northeast Foods also

promised to indemnify Burger King from any losses or liabilities

arising out of possession and operation of the subject

restaurant, including claims of injury.        Id. at 10.

     Despite Northeast Foods’s status as an independent

contractor, the Franchise Agreement requires it, as franchisee,

to comply with certain standards and policies to ensure

uniformity of operation among Burger King restaurants.             To

ensure compliance with these standards, Burger King maintains

the right to enter and inspect the subject restaurant.             Burger

King also retains the right to terminate the Franchise Agreement

if Northeast Foods engages in conduct constituting a “default,”

including failing to comply with any terms of the Franchise

Agreement or any other agreement between the parties regarding

the subject restaurant.      Doc. no. 21-8 at 7.

     In May 2018, following Elizabeth’s fall, plaintiffs brought

this suit, asserting claims of negligence against all

defendants, negligence under a theory of vicarious liability



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against Burger King, and loss of consortium against all

defendants.


                               DISCUSSION

     Burger King and Dhanani move for summary judgment on all

plaintiffs’ claims asserted against them.          Northeast Foods does

not join in the motion for summary judgment, and has not, at

this time, moved for summary judgment.         The court addresses the

claims alleged against Burger King and Dhanani below.



I.   Claims against Burger King

     Plaintiffs assert three claims against Burger King: (A)

negligence; (B) vicarious liability for the negligent conduct of

its agents; and (C) loss of consortium.         The court addresses

each in turn.



     A. Negligence

     To prevail on a negligence claim, a plaintiff “must show:

(1) the defendants owed [her] a duty; (2) the defendants

breached this duty; and (3) the breach proximately caused [her]

injuries.”    Macie v. Helms, 156 N.H. 222, 224 (2007).

Defendants argue that Burger King, as the franchisor and owner

of the subject restaurant, did not breach any duty owed to

Elizabeth, a patron of the subject restaurant.           In response,


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plaintiffs assert that Burger King owed Elizabeth, as a patron

of the subject restaurant, a “non-delegable duty” to ensure that

the highchairs were stored in a safe location, and that Burger

King breached that duty.     In other words, plaintiffs claim that

Burger King—based purely on its status as the owner and lessor

of the restaurant—owed Elizabeth a duty to make sure the subject

restaurant was free from hazards.

       New Hampshire law does not impose such an absolute duty

on landowners and landlords, particularly where, as here, the

premises are controlled by another entity.         See Sargent v. Ross,

113 N.H. 388, 397-98 (1973); see also Lussier v. New Meditrust

Co., LLC, No. CIV. 00-074-B, 2001 WL 821534, at *2-3 (D.N.H.

July 10, 2001).   Rather, under New Hampshire law, courts

consider several factors to determine whether a landlord is

liable in negligence for injuries suffered by a third party

while using a leased premises.      See Sargent, 113 N.H. at 398;

Lussier, 2001 WL 821534, at *2-3.

     Historically, New Hampshire law protected landlords from

liability for injuries arising on the leased premises unless the

injury resulted from: “(1) a hidden danger in the premises of

which the landlord but not the tenant [was] aware, (2) premises

leased for public use, (3) premises retained under the

landlord’s control, such as common stairways, or (4) premises

negligently repaired by the landlord.”        Sargent, 113 N.H. at

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392.    But in Sargent, the New Hampshire Supreme Court abolished

this rule protecting landlords and held that “landlords as other

persons must exercise reasonable care not to subject others to

an unreasonable risk of harm.”        Id. at 397.      The Court explained

that the factors listed above “which formerly had to be

established as a prerequisite to even considering the negligence

of a landlord” are no longer a prerequisite for landlord

liability.     Id. at 398.     Instead, those same factors are now

considered in determining whether the landlord exercised

reasonable care under all the circumstances.             Id.

       Lussier provides an instructive application of these

factors.     In Lussier, one of the plaintiffs slipped and fell on

steps at a rehabilitations center.           Lussier, 2001 WL 821534, at

*1.    The plaintiffs brought suit against the defendant, who

owned the property and leased it to the rehabilitation center,

asserting negligence and loss of consortium claims.               Id.

       The district court granted the defendant’s motion for

summary judgment as to the negligence claim.             Id. at *3.     The

court noted that the defendant had leased the property to the

rehabilitation center, which had “assumed the primary duty under

the lease to maintain the property in a reasonably safe

condition.”     Id.   The court further found that the defendant was

not involved in the facility’s maintenance, did not have “actual

notice” of the rehabilitation center’s failure to maintain the

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steps in a safe condition, and that the defendant relinquished

possession of the facility before the problem with the steps

developed.    Id.

     Lussier is on all fours with this case.          Burger King leased

the subject restaurant to Northeast Foods, which assumed the

primary duty under the lease to maintain the subject restaurant

in good order and condition and to take reasonable precaution to

prevent injury.     There is no evidence in the record that Burger

King was involved in the maintenance of the subject restaurant

or that Burger King had any notice of Northeast Foods’s

placement of the highchairs.      And the allegedly negligent

placement of the highchairs obviously did not occur until after

Northeast Foods took control of and began operating the subject

restaurant.

     As in Lussier, plaintiffs here point to no facts from which

a reasonable jury could infer that Burger King was negligent

with regard to the placement of the highchairs.             Plaintiffs’

sole argument raised in their objection—that Burger King had a

“non-delegable” duty to ensure that the highchairs were properly

stored—is contrary to New Hampshire law.         Therefore, defendants

are entitled to summary judgment as to plaintiffs’ direct

negligence claim against Burger King in Count 1.




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     B. Vicarious Liability

     In Count 2, plaintiffs claim that Burger King should be

held vicariously liable for the negligent conduct of its agents,

Northeast Foods and Dhanani, in failing to properly store the

highchairs in the subject restaurant.       The court addresses

plaintiffs’ vicarious liability claim against Burger King

separately as to each allegedly negligent agent: Northeast Foods

and Dhanani.



          1. Northeast Foods

     Defendants argue that Burger King is entitled to summary

judgment on the vicarious liability claim as to Northeast Foods

because Burger King did not exercise control over the location

and placement of highchairs in the subject restaurant.            In

VanDeMark v. McDonald’s Corp., 153 N.H. 753 (2006), the New

Hampshire Supreme Court encountered the same legal question

before this court: whether a restaurant franchisor and property

owner could be held vicariously liable for the alleged

negligence of its franchisee and tenant.        See id. at 761-63.

The plaintiff in that case, an employee of the franchisee who

worked as an overnight custodian, was assaulted by intruders at

the franchised McDonald’s restaurant.       Id. at 755.      He claimed

that McDonald’s as the franchisor should be held vicariously



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liable for its franchisee’s failure to implement security

measures that would have prevented his injuries.             Id. at 756.

     The New Hampshire Supreme Court affirmed the grant of

summary judgment to McDonald’s because no agency relationship

existed between McDonald’s and its franchisee.              Id. at 763.      The

Court reasoned that no such agency relationship existed because,

under the parties’ agreements, McDonald’s did not retain control

over the specific “instrumentality” that caused the harm: the

franchisee’s security policies.      Id.

     Defendants argue that Burger King, like McDonald’s in

VanDeMark, cannot be held vicariously liable because it did not

control the instrumentality that purportedly caused plaintiffs’

harm—the location of the highchairs at the subject restaurant.

In support, defendants cite to Dhanani’s affidavit, which states

that the placement of highchairs within the subject restaurant

“is a matter of routine maintenance that is handled by

[Northeast Foods’s] onsite Managers.”        Doc. no. 19-4 at 2.

Defendants also note that nothing in the lease or the Franchise

Agreement suggests that Burger King has any control over or

input into the placement of restaurant furniture at the subject

restaurant.

     Plaintiffs do not respond to defendants’ reliance on

VanDeMark or otherwise argue that Burger King somehow controlled

the placement of the highchairs.        Instead, plaintiffs point to a

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case, Valenti v. NET Properties Management, Inc., 142 N.H. 633

(1998), that they assert supports the proposition that Burger

King owed plaintiffs a “non-delegable duty to maintain safe

premises” at the subject restaurant.

      Plaintiffs are mistaken.      Valenti stands for the

proposition that—where a landlord still retains possession of

the premises—the landlord can be held vicariously liable for the

negligence of an independent contractor over whom the landlord

maintains control.     Valenti, 142 N.H. at 636.         Indeed, in

Lussier, the court rejected the very same argument that

plaintiffs assert here.       See Lussier, 2001 WL 821534, at *4.             As

the court in Lussier explained:

      [A] lease transfers the landowner’s right to possess
      its property to the tenant during the term of the
      lease. Because a landowner loses the right to possess
      its property when it executes a lease, it has far less
      ability to oversee its tenant’s maintenance activities
      than it does to oversee an independent contractor who
      is working on property within the landowner’s
      possession.

Id.   Unlike the defendant in Valenti, Burger King did not retain

possession or control of the subject restaurant.              To subject a

landlord to liability for its tenant’s negligence under these

circumstances would, as the court in Lussier explained, “be

extending the doctrine of vicarious liability in a manner

contemplated by neither the New Hampshire Supreme Court nor the

drafters of the Restatement (Second) of Torts.               Such an


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extension of state common law is not an appropriate activity for

a federal court.”     Id.   In short, the rule in Valenti does not

apply here.

     Plaintiffs do not respond to defendants’ reliance on

VanDeMark or point to any evidence in the record to suggest that

Burger King controlled the placement of the highchairs in the

subject restaurant.    Under these circumstances, even viewed in

the light most favorable to plaintiffs, there is no genuine

dispute of material fact over whether Burger King controlled the

instrumentality that caused plaintiffs’ harm.          See VanDeMark,

153 N.H. at 763; see also Murphy v. Holiday Inns, Inc., 219

S.E.2d 874, 878 (Va. 1975) (granting summary judgment to

franchisor on vicarious liability claim when franchisor had “no

power to control daily maintenance of the premises”).5            Burger

King is entitled to summary judgment on Count 2 as it relates to

Burger King’s relationship with Northeast Foods.


     5 Although not raised by plaintiffs, the court notes that
this conclusion is not undermined by the fact that Burger King
retained a general right to inspect the subject restaurant and
terminate the Franchise Agreement for noncompliance. See, e.g.,
Wendy Hong Wu v. Dunkin’ Donuts, Inc., 105 F. Supp. 2d 83, 88
(E.D.N.Y. 2000)(observing that “most courts” have concluded that
retaining the right to enforce uniform standards, reserving a
right to reenter and inspect the premises, or having a right to
terminate an agreement for failure to meet standards does not
exhibit sufficient control to subject franchisors to vicarious
liability) aff’d sub nom. Wu v. Dunkin’ Donuts, Inc., 4 F. App’x
82 (2d Cir. 2001); Kerl v. Dennis Rasmussen, Inc., 682 N.W.2d
328, 341 (Wis. 2004) (describing same as “majority approach”).


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            2. Dhanani

     Plaintiffs allege that Burger King is vicariously liable

for Dhanani’s negligent acts.     See doc. no. 1 at ¶ 25.         Because,

as the court explains in detail infra at part II, Dhanani is not

liable for negligence, there is no basis for finding that Burger

King could be vicariously liable for his actions.           See

Restatement (Third) of Torts: Apportionment Liab. § 13

(describing vicarious liability as the imputation of liability

to one person “based on the tortious acts of another”).            Burger

King is therefore entitled to summary judgment on Count 2 in its

entirety.



     C. Loss of Consortium

     Finally, plaintiffs assert a claim of loss of consortium

against Burger King on John’s behalf.      Because the court concludes

that Burger King is entitled to summary judgment on both of

plaintiffs’ negligence claims against it, John cannot recover for

loss of consortium.      See RSA 507:8-a (spouse entitled to recover

damages for loss or impairment of right of consortium caused by

intentional or negligent injury to spouse); LaBonte v. Nat’l Gypsum

Co., 110 N.H. 314, 319 (1970) (describing wife’s loss of consortium

claim as “separate and distinct” cause of action from husband’s

personal injury claim that “results . . . from the negligent injury

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to her husband”), superseded by statute on other grounds as stated

in Young v. Prevue Prods., Inc., 130 N.H. 84, 86 (1987); see also

Lussier, 2001 WL 821534, at *4 n.3 (dismissing husband’s loss of

consortium claim because court concluded defendant was not liable

to wife for negligence).        Burger King is therefore entitled to

summary judgment as to Count 3.



II.   Claims against Dhanani

      Plaintiffs allege two claims against Dhanani: (A)

negligence; and (B) loss of consortium.


      A. Negligence

      In Count 1, plaintiffs assert that Dhanani should be held

personally liable for his own negligent conduct in operating the

subject restaurant.      They allege that his negligent acts

include, but are not limited to, failing to “ensure that the

[subject restaurant] was regularly inspected for physical

dangers to restaurant patrons and code violations, and failing

to adequately hire, train, and supervise employees to know and

comply with all applicable codes affecting the restaurant.”

Doc. no. 1 at ¶ 20.      Defendants argue that Dhanani is entitled

to summary judgment on this claim for two reasons.             First,

defendants argue that there is no evidence demonstrating that

Dhanani personally engaged in tortious conduct.              Second, they


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argue that Dhanani cannot be held personally liable for any

alleged negligence of Northeast Foods, a limited liability

company (“LLC”), simply because he entered into the Franchise

Agreement on Northeast Foods’s behalf.

     Under New Hampshire law, “a member of an LLC generally is

not liable for torts committed by, or contractual obligations

acquired by, the LLC.”      Mbahaba v. Morgan, 163 N.H. 561, 566

(2012).   RSA 304-C:23, which governs the liability of an LLC’s

members and managers to third parties, states that, except as

elsewhere provided:

     (a) The debts, obligations, and liabilities of a
     limited liability company, whether arising in
     contract, tort, or otherwise, shall be solely the
     debts, obligations, and liabilities of the limited
     liability company; and

     (b) No member or manager of a limited liability
     company shall be obligated personally for any such
     debt, obligation, or liability of the limited
     liability company solely by reason of being a member
     or acting as a manager of the limited liability
     company.

RSA 304-C:23, I.   This statute protects LLC members and managers

from being held vicariously liable for the LLC’s debts,

obligations, or liabilities.     See Mbahaba, 163 N.H. at 565.

Thus, when a manager or member of an LLC acts within his

authority to bind the LLC in making a contract, he is protected

from personal liability for breach of that contract.            Id.; see

id. at 566 (“LLC members and managers who disclose that they are


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contracting on an LLC’s behalf are not liable for a breach

because they are not parties to the contract—only the LLC itself

is.”).

     RSA 304-C:23 does not, however, always protect an LLC

manager or member from personal liability.          See id. at 565.          If

a manager or member “commits or participates in the commission

of a tort, whether or not he acts on behalf of his LLC, he is

liable to third persons injured thereby.”         Id.       Thus, RSA 304-

C:23 allows for personal liability of LLC managers or members

“if that liability is not based simply on the member’s

affiliation with the company.”     Id. (internal quotation marks

omitted); see also 17 Outlets, LLC v. Healthy Food Corp., No.

15-CV-101-JD, 2016 WL 1273925, at *3 (D.N.H. Mar. 30, 2016)

(holding that LLC manager could be held personally liable for

fraud if he intentionally made material misrepresentations to

induce plaintiff to sign lease agreement with LLC).



          1. Dhanani’s personal involvement

     In the complaint, plaintiffs allege that Dhanani is

personally liable because he failed to make sure that the

highchairs were stored in a safe location.          Dhanani argues that

there is no evidence that he personally participated in the

alleged negligent placement of the highchairs and that,

therefore, he was not negligent.        The New Hampshire Supreme

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Court has recognized that a tort duty may arise if, under the

circumstances, a reasonable person would exercise a certain

degree of care for the protection of the plaintiff.            See

Mbahaba, 163 N.H. at 567.      For example, in a tort case brought

against the owner of a property management LLC, the New

Hampshire Supreme Court held that the owner could be personally

liable for harm to the tenant from lead paint where the owner

personally managed the property and had actual knowledge of the

presence of lead paint.      See id. at 567-68.

      Here, there is uncontradicted evidence in the record that

Dhanani is not personally involved in the day-to-day operation

of the subject restaurant and that decisions regarding where to

store highchairs are made at other levels of management.

Indeed, the evidence shows that Northeast Foods hires other

employees who directly manage the day-to-day operations of the

subject restaurant.

      Dhanani submitted a sworn affidavit that prior to

Elizabeth’s injury he “had no personal knowledge of the location

of highchairs within” the subject restaurant.           Doc. no. 19-4 at

2.   In his answers to interrogatories, Dhanani stated that, to

his knowledge, all inspections were conducted according to the

relevant guidelines.     This evidence supports Dhanani’s argument

that he had no personal control of or knowledge about the

placement of the highchairs.

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     Plaintiffs do not identify any evidence to the contrary.

They do not cite any evidence in the record that could give rise

to the inference that Dhanani participated in the placement of

the highchairs, had knowledge of their location, or otherwise

contributed to plaintiffs’ injury.        In fact, plaintiffs appear

to concede that Dhanani had no knowledge of the day-to-day

operations of the subject restaurant.        See doc. nos. 21 at 8, 22

at 1 (noting that defendants’ motion “admits that [Dhanani] has

no knowledge of the day-to-day operations of the restaurant”).

Under these circumstances, even viewing the evidence in the

light most favorable to plaintiffs, there is no genuine dispute

of material fact bearing on Dhanani’s personal liability.

     Plaintiffs attempt to use the uncontroverted record

evidence showing that Dhanani had no knowledge of day-to-day

operations of the subject restaurant as a sword, arguing that

this fact demonstrates negligent dereliction of his personal

obligations under the Franchise Agreement.          This argument is

flawed in several respects.     First, Dhanani did not sign the

Franchise Agreement in his individual capacity; he signed it on

Northeast Foods’s behalf.     See Mbahaba, 163 N.H. at 566.

Therefore, he did not incur any personal obligations under the

Franchise Agreement that could give rise to a duty to

plaintiffs.



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     Second, Dhanani’s distance from day-to-day operations is

consistent with the terms of the Franchise Agreement.            The

Franchise Agreement requires Northeast Foods to employ a

“Restaurant Manager” who “is responsible for the direct,

personal supervision of the” subject restaurant.           Id.

Consistent with this language, Northeast Foods employs an

“onsite Manager responsible for day-to-day operation of the

restaurant, including interior and exterior maintenance of the

building and grounds.”      Doc. no. 19-4 at 2.6     Thus, Dhanani’s

lack of day-to-day involvement at the subject restaurant does

not show that he failed to fulfill his “personal obligations”

under the Franchise Agreement, but, rather, supports the

conclusion that he had no personal knowledge of, or involvement

with, the condition that gave rise to plaintiffs’ injury such

that he should be held personally liable.

     In sum, the summary judgment record is devoid of evidence

showing that Dhanani should be held personally liable, such as

evidence that he had personal knowledge of a dangerous condition




     6 The Franchise Agreement requires that Northeast Foods
empower the Managing Director (Dhanani) with “the authority to
direct any action necessary” to ensure that day-to-day
operations comply with the parties’ agreements. Doc. no. 21-8
at 5 (emphasis added). This provision ensures Dhanani would
have the power to oversee operations when necessary. This
provision does not mean that Dhanani is responsible for
directing and controlling day-to-day operations.

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or lax maintenance practices at the subject restaurant, or that

he personally managed the property such that he should have

known of the purportedly dangerous condition.            Cf. Mbahaba, 163

N.H. at 567-68.



          2. Franchise Agreement

     Plaintiffs’ second theory in favor of Dhanani’s personal

liability relies on the language of the Franchise Agreement.

Specifically, plaintiffs argue that Dhanani is personally liable

based on his failure to “fulfill his contractual duty to Burger

King,” which resulted in the presence of a hazardous condition

at the subject restaurant.

     The court is not convinced.        As explained above, Dhanani

did not sign the Franchise Agreement in his individual capacity,

but on behalf of the LLC.     See Mbahaba, 163 N.H. at 566.            The

Franchise Agreement, therefore, did not give rise to any

personal obligations on his part.         Even assuming for the sake of

argument that Dhanani did incur personal obligations to Burger

King by signing the Franchise Agreement, plaintiffs’ argument

still falls short.   Plaintiffs fail to explain how Dhanani’s

alleged breach of contractual obligations to a third party




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them.       Dhanani is therefore entitled to summary judgment on

Count 1.7



        B. Loss of Consortium

        Plaintiffs assert a claim of loss of consortium against

Dhanani on John’s behalf.       Given the court’s conclusion that

Dhanani is entitled to summary judgment on plaintiffs’

negligence claim, John cannot recover for loss of consortium.

See RSA 507:8-a; LaBonte, 110 N.H. at 319 (describing wife’s

loss of consortium claim as “separate and distinct” cause of

action from husband’s personal injury claim that “results . . .

from the negligent injury to her husband”); see also Lussier,

2001 WL 821534, at *4 n.3 (dismissing husband’s loss of

consortium claim because court concluded defendant was not

liable to wife for negligence).       Accordingly, Dhanani is

entitled to summary judgment on Count 3.




       The court notes that although plaintiffs have filed a
        7

motion to compel Dhanani to appear for a deposition, they have
not argued that certain facts are unavailable to them and
therefore they “cannot present facts essential to justify
[their] opposition” to defendants’ summary judgment motion.
Fed. R. Civ. P. 56(d) (stating that a nonmovant may show by
affidavit or declaration that it needs additional discovery to
respond properly to a summary judgment motion). On the
contrary, as discussed above, plaintiffs argue that Dhanani was
not involved in the subject restaurant’s day-to-day operations
and attempt to use that fact in their favor.

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     In sum, the court grants Burger King and Dhanani’s motion

for summary judgment on all claims asserted against them.             The

only claims remaining in this suit are plaintiffs’ claims

against Northeast Foods.



III. Motion to Compel Deposition

     Finally, the court addresses plaintiffs’ pending motion to

compel Dhanani to be subject to deposition in New Hampshire or

Massachusetts.   Doc. no. 30.    Plaintiffs’ and defendants’

briefing on this issue focuses largely on the location of

Dhanani’s deposition: plaintiffs seek to depose Dhanani in New

Hampshire or Massachusetts, while defendants seek to have

Dhanani’s deposition taken in Texas, where he resides and works.8

     Plaintiffs assert that Dhanani should be compelled to

appear for deposition in New Hampshire or Massachusetts because

it is “well settled” that the deposition of a corporation by its

agents and officers should ordinarily be taken at its principal

place of business.   This rule, see 8A Wright & Miller, Federal

Practice and Procedure § 2112, is inapposite here.           Plaintiffs’

motion to compel does not seek to depose Northeast Foods, the



     8 Defendants also state in their objection that Dhanani’s
deposition should be delayed until after the parties have
engaged in mediation. The timing of Dhanani’s deposition is a
matter best left to the parties to negotiate.


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“corporate” entity.    And, even if it did, Northeast Foods would

be entitled to designate one or more officers to testify on its

behalf.   See Fed. R. Civ. P. 30(b)(6).      There is no indication

in the record that Northeast Foods has designated Dhanani as its

Rule 30(b)(6) representative.     To the contrary, defendants aver

that they are in the process of scheduling depositions of

several other individuals (Stephan Gay, Roger Campbell, and

George Hiou) who Northeast Foods has designated to testify on

its behalf under Rule 30(b)(6).      Doc. no. 36 at 2.        Given these

facts, the court construes plaintiffs’ motion to compel as

seeking to depose Dhanani in his individual capacity.

     Regarding an individual defendant or witness, the general

rule is that the person “should be deposed in the district of

his residence or principal place of business.”             Foley v. Loeb,

No. 06-53S, 2007 WL 132003, at *1 (D.R.I. Jan. 16, 2007)

(internal quotation marks omitted); Fed. R. Civ. P. 45(c)(1).

Plaintiffs offer no justification to discard this general rule.

Without more, the court sees no reason to disregard the normal

presumption that Dhanani should be deposed in Texas.

     Therefore, plaintiffs’ motion is denied without prejudice.

To the extent plaintiffs still seek to depose Dhanani on issues

that remain relevant to the case after this order, they may

either do so in Texas or move for an order from this court, with



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sufficient justification, compelling Dhanani to appear for a

deposition in Massachusetts or New Hampshire.



                                 CONCLUSION

       For the foregoing reasons, the court grants Burger King and

Dhanani’s motion for summary judgment (doc. no. 19).               The court

denies without prejudice plaintiffs’ motion to compel (doc. no.

30).

       SO ORDERED.



                                    __________________________
                                    Landya McCafferty
                                    United States District Judge

August 29, 2019

cc: Counsel of Record




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